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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
vs.                                              )       No. 3:12-00078
                                                 )       Judge Sharp
LAZOURUS GRISSOM                                 )

                       MOTION TO EXTEND DEADLINE FOR FILING
                          ANY MOTION TO CONTINUE TRIAL

         Lazourus Grissom, by and through undersigned counsel, hereby moves this Honorable Court

for a short extension of the deadline for filing any motion to continue the trial in this cause. In

support of this motion, undersigned counsel would show the Court the following:

         1. The trial in this matter is set for November 6, 2012. This is the second setting of the trial.

The deadline for filing any motion to continue is October 17, 2012 (Document No. 37).

         2. Counsel for the partes are engaged in ongoing settlement discussions. However, defense

counsel will be unable to determine whether a continuance of the trial will be necessary until after

the filing deadline for the motion to continue.

         3. Based on the status of negotiations, undersigned counsel requests an extension of six days,

until February 23, 2012, to file any motion to continue the trial.

         4. AUSA Phil Wehby has authorized undersigned counsel to inform the Court that he has

no objection to the requested extension of the filing deadline.

                                                         Respectfully submitted,

                                                         s/Kathleen G. Morris
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